           Case 6:20-cv-00546-IM                                          Document 101-1                                 Filed 08/07/23                           Page 1 of 28



                                   Oregon Department of Corrections (ODOC)
                                                        Oregon State Penitentiary
                                                  Grievance - Returned for Correction(s)
               To:       Douglas, Damien                                                       SID#:           10131429                                Cell: OSP:E-432
         From:           Kidwell, A                                                             Date:          11/04/2019


               Re:        Non-Medical# OSP_2019_ 11_002


The grievance you submitted is being returned to you due to non-compliance with the Department of
Corrections (DOC) Rule #109 (Grievance Review System) for the following reason(s):

An AIC may not submit a grievance representing other AICs, or acts where an AIC is a spokesperson
for other AICs (Group Grievance).

A grievance may be up to three pages (single-sided) in length. An AIC must use a grievance form for
each page of the grievance. Grievances that are not legible or contain multiple sentences per line will
be returned to the AIC for correction.

Please note this issue outlined in your grievance would be more fitting under the Discrimination Rule
process. The discrimination rule allows for groups of individuals to be represented were the
grievance rule only allows for the writer to be the focus not a group.

291-109-0225 Grievance and Appeals General Processing Standards

(2) Grievances and grievance appeals returned for correction:

(a) An AIC may elect to resubmit a grievance or grievance appeal that has been returned for
correction to the AIC because it does not comply with these rules.

(b) The grievance or grievance appeal may only be resubmitted twice and must be received by the
institution grievance coordinator within 14 calendar days from when the grievance or grievance
appeal was originally returned to the AIC.

(c) If rewritten, the return receipt and original grievance or grievance appeal must also be attached.

If you have any questions regarding your grievance, please refer to the Department of Corrections
Administrative Rule "Grievance Review System" tab #109 located in the legal library or kyte your
institution Grievance Coordinator.




Page 1 of 1
Confidentiality Notice: This document contains information belonging to the Department of Corrections. This information may be confidential, restricted, and/or legally privileged, and is intended for
appropriate and approved use under existing department rules, regulations, confidentiality and security agreements. If you have received this document in error, please notify DOC immediately, keep
the contents confidential, and promptly destroy the information and/or delete the document information from your computer system.




                                            Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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Describe what action you want taken to resolve the grievance . (How can the problem be solved?)




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                                        Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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 Notary Public - State of Oregon

 My commission expires: _ _ __



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                Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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Case 6:20-cv-00546-IM              Document 101-1       Filed 08/07/23        Page 7 of 28




   I hereby declare that the above statement is true to the best of my knowledge and belief,
 and that I understand it is made for use as evidence in court and is subject to penalty for
 perjury.




 Signed and sworn to (or affirmed) before me



 Notary Public - State of Oregon

 My commission expires: _ _ , , ~ - -



 Affidavit                                                              Form 02.010




                Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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 perjury.


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 Affidavit                                                                  Form 02.010




                 Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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Case 6:20-cv-00546-IM                  Document 101-1                 Filed 08/07/23             Page 9 of 28




                      regon                                           Oregon Department of Corrections
                                                                                                Religious Services
                                                                                                 OSC! Residence 3
                                                                                             3405 Deer Park Dr. SE
                Kate Brown, Governor                                                             Salem, OR 973 10
                                                                                              Phone: 503-378-2534
                                                                                                Fax: 503-378-2648

 February 20, 2020



AIC Damien Douglas, SID #10131429
Oregon State Penitentiary
2605 State St.
Salem, OR 97310-9385



Dear Damien Douglas,

This letter is in response to your second-level Grievance Appeal, #OSP 2019 011 002AA, in which you
claim you were treated unfai rly by the OSP chaplains when you were asked to leave the chapel area.

I have reviewed your appeal, as well as all prior documentation relating to th is grievance . I have found
that the chaplains acted appropriately and even allowed you to stay for over 15 minutes to finish your
Jummah Prayer even though volunteer staff and chaplains heard you speaking loudly and using foul
language. Chaplain Stahlnecker reports that this is not the first time you have exhibited this type of
behavior in the chape l. My expectation is that the chapel area is reserved for quiet, reverant and
respectful behaviors by all who attend it's functions .

In regards to litigation holds and camera views, you would need to go through your institution security
admin istration to make such a re quest.

Thank you for addressing your concerns appropriately. This concludes the grievance review process fo r
this matter.




~/
Daryl Borello                                                                  SENT
Administrator
                                                                            FEB 28 2020
cc:    Adam Kidwell, Grievance Coordinator                          OSP/MCCF GRIEVANCE OFFICE




                     Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                                                                         EXHIBIT 1, Page 9 of 28
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
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Describe what action you want taken to resolve the grievance appeal if different from original grievance submission.

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For grievance information see back page. Distribution: Green (Original grievance form); Goldenrod (Inmate receipt after processed)              CD 117C (10/2019)




                                      Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                     regon                                        Oregon Department of Corrections
                                                                         Stuart Young, Assistant Administrator
                                                                                             Religious Services
                                                                                              OSCJ Residence 3
               Kate Brown, Governor                                                    3405 Deer Park Dri ve SE
                                                                                             Salem, OR 97310
                                                                                           Voice: 503-378-2524
                                                                                            Fax: 503-378-2648




 January 27, 2020

 Douglas, Damien#10131429
 Oregon State Penitentiary
 2605 State St NE
 Salem, OR 97310

 Dear Mr. Douglas:

 This letter is in response to your first level Grievance Appeal OSP_ 2019_ 11 _ 002A, in which you
 claim you are being treated unfairly by the chaplains.

 I have reviewed your appeal, as well as all prior documentation relating to the grievance. On this
 occasion, the Adults in Custody (AICs) at Jummah Prayer were being loud and using
 inappropriate language. Both Chaplain Stahlnecker and Chaplain Thompson, from their
 respective offices, could hear loud voices coming from the room. I have contacted both chaplains
 and they confirm the AICs were being disruptive by being loud and using foul language. I have
 received reports that volunteers in the rooms nearby stated that the group has been loud and they
 have asked the group to quiet down. This type of behavior is not permitted in the chapel area. It
 was appropriate for the chaplains to shorten the service time due to AICs behavior.

 According to OAR 291-143-0130 Restriction of Religious Activity/Items: An inmate's
 participation in approved religious activities and possession of approved religious items may be
 restricted by the Department of Corrections when deemed necessary to maintain facility security,
 safety, health and order, or to further inmate rehabilitation or other penological interest,
 consistent with applicable legal standards. At the chapel, it is our expectation that all AICs show
 respectful behavior and respect the space of others. Al Cs can be removed from service if this
 inappropriate behavior continues.

 T~~for


 St~1g
 Assistant Adminis rator                                                       SENT

                                                                            JAN 29 2020
 cc: A. Kidwell, Grievance Coordinator
     File                                                            OSP/MCCF GRIEVANCE OFFICE




                    Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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List in detail all the reasons you disagree with the original grievance response or initial appeal response . (For the initial appeal,
attach original grievance form and staff respon se. For the final appeal, attach the initial appeal form and response as well as the



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original grievance and response.)




Describe what action you want taken to resolve the grievance appeal if different from original grievance submission .




Date                                                                                                   Signature

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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
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                                                              GRIEVANCE RESPONSE FORM


            TO BE FILLED OUT BY STAFF                                                                 Grievance#: OSP-2019-11-002

            TO:         Douglas, Damien                                             10131425
                        Name of grievant                                                SID#

            FROM: Chaplain Stahlnecker                                              Chaplain
                  Name of respondent                                                   Title

         List, in detail, action(s) taken. (What action was taken? ,Was th~ action what the inmate requested? If not, why? Who
         took the action? When was the action taken - date/time?)




        On October 18th at some time after 1300 hrs, Mr. Douglas and one other Adult In custody went Into their assigned room to
        do their Jumma Prayer. They were the only people In this room. Mr. Douglas and the other AIC were being very loud and
        using vulgar language as they went Into their room. The volunteer in the room next door went to the room and politely
        asked Mr. Douglas and the other AIC to please be quiet. It should be mentioned this has happened many times in the past
        on numerous occasions, and Mr. Douglas was warned about extreme noise. On this occasion, Chaplain Thompson saw what
        happened, and told Mr. Douglas and the other AIC that they had 15 minutes to complete their prayer time. It should be •
        mentioned that they were actually given more than 15 minutes to read their sermon before I (Chaplain Stahlnecker) let
        them know their time was up. If Mr. Douglas continues to be loud and disruptive In his chapel service, he will be escorted
        out of the chapel area.




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    Date:
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                                                                                                                Stuart Young
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Please provide the date/time of incident giving rise to grievance: trj, Qd-; /'j-/l,,JiOJ 1@J/3'5"t; ll/l!JIIJI, / ,J,5f~
                                                                                   r               I
List in detail all the reasons for your grievance. (What is the problem ? When did it happen - date/time/place?) Attach copies of any
documents                        ·        which support you r          ·          ·      uding the nam          y perso ns yo      ·             e questioned.




Describe what action you want taken to resolve the grievance . (How can the problem be solved?)




Date                                                                                                     Signature

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        (If not processing faci lity)

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Please provide the date/time of incident giving rise to grievance:                            fu; o~t lfl';.)/f'lt!i21/ 35'~ / , 5'-.yh
List in detail all the reasons for your grievance. (What is the probl em? Wh en did it happen - date/time/place?) Attach cop ies of any
documents or any material(s), which support your grievance, including the names of ny persons you think should be questioned.
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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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List in detail all the reasons for your grievance. {What is the problem? When did it happen - date/time/place?) Attach copies of any
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                                         Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                   Oregon Department of Corrections (ODOC)
                                                        Oregon State Penitentiary
                                               Initial Appeal - Returned for Correction(s)
               To:       Douglas, Damien                                                       SID#:           10131429                                Cell: OSP:E-432
         From:           Kidwell, A                                                            Date:           01/07/2020


               Re:        Non-Medical# OSP_2019_ 11_002


The initial grievance appeal you submitted is being returned to you due to non-compliance with the
Department of Corrections (DOC) Rule #109 (Grievance Review System) for the following reason(s):

No new information may be submitted with the appeal unless the information was unavailable to the
AIC at the time the original grievance was filed or if the initial grievance response or initial appeal
response noted that the information was missing and the submitted information is directly related to
the alleged issue or incident being grieved.

An AIC may only submit supporting documentation if it directly relates to the incident or issue being
grieved, such as program failures, AIC communications, etc.

The attached three-page affidavit does not fit the grievance rules guidelines for supporting
documents and was available prior to filing the initial grievance. The supporting documents are not to
be in place of the narrative that should be solely presented on the department grievance and appeals
forms. Please provide an appeal without documents that were available prior to the initial grievance
filing and where the appeal and grievance forms are the only documents that carry the narrative of
the grieved issue. Acceptable supporting documents would be canteen receipts, AIC
communications between staff and AIC, program fails, newsletters, etc.

291-109-0225 Grievance and Appeals General Processing Standards

(2) Grievances and grievance appeals returned for correction:

(a) An AIC may elect to resubmit a grievance or grievance appeal that has been returned for
correction to the AIC because it does not comply with these rules.

(b) The grievance or grievance appeal may only be resubmitted twice and must be received by the
institution grievance coordinator within 14 calendar days from when the grievance or grievance
appeal was originally returned to the AIC.

(c) If rewritten, the return receipt and original grievance or grievance appeal must also be attached.

If you have any questions regarding your initial grievance appeal, please refer to the Department of
Corrections Administrative Rule "Grievance Review System" tab #109 located in the legal library or
kyte your institution Grievance Coordinator.



Page 1 of 1
Confidentiality Notice: This document contains information belonging to the Department of Corrections. This information may be confidential, restricted, and/or legally privileged, and is intended for
appropriate and approved use under existing department rules, regulations, confidentiality and security agreements. If you have received this document in error, please notify DOC immediately, keep
the contents confidential, and promptly destroy the information and/or delete the document information from your computer system.




                                            Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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List in detail all the reasons you disagree with the original grievance response or initial appeal response . (For the initial appeal,
attach original grievance form and staff response . For the final appeal, attach the initial appeal form and response as well as the
original grievance and response .)
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Describe what action you want taken to resolve the grievance appeal if different from original grievance submission.




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                                        Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                      Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
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                                     Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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         I hereby declare that the above statement is true to e best of my knowledge an belief,
       and that I understand it is made for use as evidence in court and is subject to penalty for
       perjury.


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                                                      _ ___,20_by _ _ _ __



       Notary Public - State of Oregon

       My commission expires: _ _ __




'i)    Affidavit                                                               Form 02.010
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                       Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                                                             EXHIBIT 1, Page 22 of 28
  Case 6:20-cv-00546-IM              Document 101-1       Filed 08/07/23       Page 23 of 28




     I hereby declare that the above statement is true to the best of my knowledge and belief,
   and that I understand it is made for use as evidence in court and is subject to penalty for
   perjury.    ·




    Signed and sworn to (or affirmed) before me



   Notary Public - State of Oregon

   My commission expires: _ _ _ , . ~ - -



   Affidavit                                                              Form 02.010

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                    Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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 State of Oregon, County of (Y\,A(2.\Gt)

 Signed and sworn to (or affinned) before me on   De.+ 31 ,2019 by~ l ) h , ~ ~ k , s
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                                                     MELISSA ANN GILBERT
                                                    NOTARY PUBLIC • OREGON
                                                      COMMISSION NO. 947178
                                            MY COMMISSION EXPIRES FEBRUARY 2B, 2020




 Affidavit                                                                        Fonn02.010

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                Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                                             GRIEVANCE RESPONSE FORM


         TO BE FILLED OUT BY STAFF                                                                    Grievance#: OSP-2019-11-002

         TO:         Douglas, Damien                                                10131425
                     Name of grievant                                                  SID#

         FROM: Chaplain Stahlnecker                                                 Chaplain
               Name of respondent                                                      Title

      List, in detail, action(s) taken. (What action was taken? Was the action what the inmate requested? If not, why? Who
      took the action? When was the action taken - date/time?)




    On October 18th at some time after 1300 hrs, Mr. Douglas and one other Adult in custody went into their assigned room to
    do their Jumma Prayer. They were the only people in this room. Mr. Douglas and the other AIC were being very loud and
    using vulgar language as they went into their room. The volunteer in the room next door went to the room and politely
    asked Mr. Douglas and the other AIC to please be quiet. It should be mentioned this has happened many times in the past
    on numerous occasions, and Mr. Douglas was warned about extreme noise. On this occasion, Chaplain Thompson saw what
    happened, and told Mr. Douglas and the other AIC that they had 15 minutes to complete their prayer time. It should be ,
    mentioned that they were actually given more than 15 minutes to read their sermon before I (Chaplain Stahlnecker) let
    them know their time was up. If Mr. Douglas continues to be loud and disruptive in his chapel service, he will be escorted
    out of the chapel area.




                                                                         Do not type past this line

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     Date:
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documents or any material(s), which support your grievance, including the names of any persons you think
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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




Date                                                                                               Signature

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Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




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Describe what action you w nt taken to resolve the grievance. (How can the problem be so lved?)

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